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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

DEBORAH RENAY NELSON-SEAMSTER,                     )
                                                   )
       Plaintiff,                                  )
                                                   )
vs.                                                )      CAUSE NO. 2:13-CV-00265
                                                   )
MANSARDS APARTMENTS and                            )
EDGEWATER SYSTEMS,                                 )
                                                   )
       Defendants.                                 )

 DEFENDANTS, EDGEWATER SYSTEMS’ MOTION FOR SUMMARY JUDGMENT

       Defendant, Edgewater Systems for Balanced Living, Inc., by counsel, is entitled to

summary judgment on Plaintiff’s complaint as the undisputed facts show that no violation of the

Americans With Disabilities Act exists. In support of its Motion, Defendant incorporates herein

its memorandum in support of summary judgment and designates the following evidence:

       1.      The pleadings in this action, including Plaintiff's Complaint [DE 1] and

Defendants' Answer [DE 13];

       2.      Portions of the Deposition of Deborah Nelson-Seamster,

               p. 45, l. 19-25;
               p. 90, l. 18-25;
               p. 91, l. 10-25;
               p. 114, l. 6-23;
               p. 119, l. 25;
               p. 120, l. 1-16;
               p. 121, l. 16-25;
               p. 122, l. 21-25;
               p. 123, l. 1-6;
               p. 126, l. 24-25;
               p. 127, l. 1-10;
               p. 128, l. 24-25;
               p. 129, l. 1-8;
                                              1
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                p. 140, l. 22-25;
                p. 142, l. 2-4;
                Exhibit O;
                Exhibit I;
                Exhibit S;
                Exhibit T;

                attached and incorporated as Exhibit 1.


        3.      Shelter Plus Care Administration Manual, p. 3, 8, and 9, attached and

incorporated as Exhibit 2;

        4.      Verified Petition for Emergency Possessory Order, Amended Complaint, and

Order of Possession attached and incorporated as Exhibit 3;

       5.       Affidavit of Tyra Cooper, ¶12, 13, 14, 15, 17, 18 attached and incorporated as
Exhibit 4;

        6.      Lease Addendums, attached and incorporated as Exhibit 5;

        7.      Correspondence from Tyra Cooper to Nelson-Seamster, dated February 25, 2013,

attached and incorporated as Exhibit 6;

        8.      The Defendant’s “Statement of Material Facts,” as set forth in the text of the

supporting Memorandum, pursuant to Local Rule 56.1.

        WHEREFORE, Defendant prays that judgment be entered in their favor as a matter of

law, for costs in this action, and for all other proper relief in the premises.




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                                            Respectfully submitted,


                                            HUNT SUEDHOFF KALAMAROS, LLP

                                            By: /s/ Jennifer L. Butnaru
                                            Lyle R. Hardman (#16056-49)
                                            Jennifer L. Butnaru (#27399-46)
                                            Attorney for Defendant, Edgewater Systems for
                                            Balanced Living, Inc.
                                            205 W. Jefferson Blvd., Ste. 300
                                            Post Office Box 4156
                                            South Bend, IN 466341-4156
                                            Telephone: (574) 232-4801


                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and correct copy of the above and foregoing
was served upon the following:

Deborah Renay Nelson-Seamster
2394 Fillmore St.
Gary, IN 46407

by depositing a copy of the same in the United States Mail and via electronic mail using
ECF/Pacer, respectively, this 25th day of February, 2015.


                                            /s/ Jennifer L. Butnaru
                                            Jennifer L. Butnaru (#27399-46)




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